951 F.2d 297
    MUR-MAID ENTERPRISES, INC., Plaintiff-Counterclaim Defendant,Elmer Murray and Joy G. Murray, Plaintiffs-Appellants,v.John Timothy TOWNSEND and Star Paper Tube, Inc.,Defendants-Counterclaim Plaintiffs-Appellees.
    No. 90-8096.
    United States Court of Appeals,Eleventh Circuit.
    Dec. 23, 1991.
    
      Clifton M. Patty, Jr., Ringgold, Ga., Joseph E. Willard, Jr., Rossville, Ga., for plaintiffs-appellants.
      L. Hugh Kemp, Dalton, Ga., for defendants-counterclaim plaintiffs-appellees.
      Appeal from the United States District Court for the Northern District of Georgia;  Harold L. Murphy, Judge.
      Before KRAVITCH and EDMONDSON, Circuit Judges, and GODBOLD, Senior Circuit Judge.
    
    BY THE COURT:
    
      1
      Appellants' and appellees' stipulation of settlement is GRANTED.   The panel opinion, published at 939 F.2d 939 (11th Cir.1991), certifying a question to the Georgia Supreme Court is VACATED and WITHDRAWN.   The judgment of the district court is VACATED and the case is REMANDED to the district court with instructions that the case be dismissed.  United States v. Munsingwear, Inc., 340 U.S. 36, 71 S.Ct. 104, 95 L.Ed. 36 (1950).
    
    
      2
      A copy of this order shall be forwarded to the Georgia Supreme Court.
    
    